Case 1:20-cv-03550-GBD Document 31 Filed 01/28/21 Page 1 of 1
Case 1-20-cv-03550-GBD Document 30 _ Filed in NYSD on 01/27/2021 Page 1 of 1

400 Crossing Boulevard

 

 

8" Floor
NORRIS _ P.O. Box 5933
Nee mcvotmentes ES i Bridgewater, NJ 08807
al USPC SDNY A { T: 908-722-0700

    

DOCUMENT LT LAW tl F: 908-722-0755
eee ROTH! “CALLY FILED

    

3
PWC en nereermemnememtee | Direct Dial: 908-252-4208

 

 

 

4 5 ATE FILED; An 9-994 = Email: naduston@norris-law.com
= January 27, 2021
. “1: $a ONQNrpoN
Via Electronic Filing wher aNy
bonne ees sua The January 28, 2021 initial conference is
nited States District Court Judge
Southern District of New York adjourned to February 25, 2021 at 9:30 a.m.

 
 

JAN 28 2021 Ste

50 Pear! St. ¢, nt) A ia L.
New York, NY 10007 Ad g — 6. Da —

Re: Mercedes-Benz Financial Services USA LLC vy. Korchmar et al.
Dkt. No. 20-ev-03550-GBD

Dear Judge Daniels:

We represent Mercedes-Benz Financial Services USA LLC (“MBFS”) and write to
request that Your Honor adjourn tomorrow’s case management conference. The non-defaulted
defendants consent. MBFS and the non-defaulted defendants have settled (and MBFS has
withdrawn its claims against the defaulted defendant). However, the parties need additional time
to effectuate the transfer of title to the vehicle involved in this case pursuant to the terms of the
settlement. We therefore respectfully request that the conference be adjourned three weeks, or
such other longer period as the Court deems appropriate. By that time, the need for any
conference will likely have become moot.

Respectfully Submitted,

Norris McLaughlin, P.A.

By: __/s/ Nicholas Duston
Nicholas Duston

 

ce: Counsel of Record (via Electronic Filing)
asWop oe
& OF BRIDGEWATER, NJ | NEW YORK, NY | ALLENTOWN, PA
= =
4 = WWW.NORRISMCLAUGHLIN.COM

SERAY?

 

 
